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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


SECURITIES AND EXCHANGE
COMMISSION,

                       Plaintiff,

       v.                                            No. 1-23-cv-01599-ABJ

BINANCE HOLDINGS LIMITED,
BAM TRADING SERVICES INC.,
BAM MANAGEMENT US HOLDINGS
INC., AND CHANGPENG ZHAO,

                     Defendants.


     DECLARATION OF MARY BETH MALONEY IN SUPPORT OF JOINT
 MEMORANDUM OF LAW ON BEHALF OF DEFENDANTS BINANCE HOLDINGS
    LIMITED AND CHANGPENG ZHAO IN OPPOSITION TO PLAINTIFF’S
    EMERGENCY MOTION FOR A TEMPORARY RESTRAINING ORDER

       I, MARY BETH MALONEY, hereby declare under penalty of perjury the following:

       1.       My name is Mary Beth Maloney. I am a partner with the law firm of Gibson,

Dunn & Crutcher (“Gibson Dunn”) and am admitted pro hac vice to this Court for the purposes

of appearing in this action. I represent Defendant Binance Holdings Limited (“BHL”) in the

above-captioned action. I submit this Declaration in support of the Joint Memorandum of Law

on Behalf of Defendants Binance Holdings Limited and Changpeng Zhao In Opposition To

Plaintiff’s Emergency Motion For A Temporary Restraining Order (“Defendants’ Opposition”),

including the Declaration of Jeffrey R. Harris (“Harris Declaration”) and the Declaration of

J. Gregory Eastman (“Eastman Declaration”). Based on information provided to me, I could

and would competently testify to the truth of the matters stated herein.




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         2.      Attached at Exhibit BH-1 is a true and correct copy of the September 1, 2022

Binance Blog Post titled, “Who Is Guangying Chen, and Is Binance a ‘Chinese Company’?,”

found at:

https://www.binance.com/en/blog/from-cz/who-is-guangying-chen-and-is-binance-a-chinese-

company-2386330931319516973, as it appeared on June 11, 2023.

         3.      Attached as Exhibit BH-2 is a true and correct copy of the web archive of the

October 25, 2022 Business Insider article titled, “Meet Changpeng ‘CZ’ Zhao, the CEO of

Binance and the richest man in crypto who worked at a gas station before making his $30 billion

fortune,” found at:

https://web.archive.org/web/20221025065415/https://www.businessinsider.com/zhao-

changpeng-binance-billionaire-crypto-mcdonalds-fast-food-wealth-lifestyle-2022-10, as it

appeared on June 11, 2023.

         4.      Attached as Exhibit BH-3 is a true and correct copy of the November 15, 2022

CNN article titled, “Who is Binance founder Changpeng ‘CZ’ Zhao, the billionaire who wants to

‘rebuild’ crypto?,” found at:

https://www.cnn.com/2022/11/15/business/binance-founder-changpeng-zhao-ftx-intl-

hnk/index.html, as it appeared on June 11, 2023.

         5.      Attached as Exhibit BH-4 is a true and correct copy of the December 10, 2022

DailyCoin article titled, “Changpeng Zhao: The Man Named ‘CZ’,” found at:

https://dailycoin.com/how-binances-changpeng-zhao-became-powerful-man-in-crypto/, as it

appeared on June 11, 2023.




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         6.      Attached as Exhibit BH-5 is a true and correct copy of the January 11, 2022

StartupTalky article titled, “Changpeng Zhao – Success Story of the Binance Founder,” found at:

https://startuptalky.com/changpeng-zhao-binance-

founder/#:~:text=Changpeng%20Zhao's%20interest%20in%20cryptocurrencies,interest%20in%

20the%20crypto%20market, as it appeared on June 11, 2023.

         7.      Attached as Exhibit BH-6 is a true and correct copy of the April 5, 2022 Times

Decrypt article titled, “Binance Coin – Meet the team,” found at:

https://decrypt.timestream.in/projects/binance-coin-meet-the-team, as it appeared on June 11,

2023.

         8.      Attached at Exhibit BH-7 is a true and correct copy of the bylaws of BAM

Management US Holding Inc., dated February 5, 2019.

         9.      Attached at Exhibit BH-8 is a true and correct copy of the Certificate of

Incorporation of Bam Trading Services Inc., dated January 31, 2019.

         10.     Attached at Exhibit BH-9 is a true and correct copy of the bylaws of BAM

Trading Services Inc. (“BAM”), dated February 5, 2019.

         11.     Attached at Exhibit BH-10 is a true and correct copy of a Binance.US webpage

of state licenses, found at:

https://support.binance.us/hc/en-us/articles/360050532193-Licenses, as it appeared on June

10, 2023.

         12.     Attached at Exhibit BH-11 is a true and correct copy of a web archive of

Binance Terms of Use, effective on June 14, 2019, found at:

https://web.archive.org/web/20191115111959/https://support.binance.us/hc/en-




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us/articles/360033952672 that was bates stamped BHL-SEC-BUSD-0000675 and produced to

the Commission.

           13.   Attached at Exhibit BH-12 is a true and correct copy of a web archive of the

September 24, 2019 Binance.US announcement titled, “Binance.US Opens Trading For BTC,

ETH, XRP, BCH, LTC, BNB and USDT,” found at:

https://web.archive.org/web/20191115111959/https://support.binance.us/hc/en-

us/articles/360033952672, as it appeared on June 10, 2023.

           14.   Exhibit BH-13 is intentionally omitted.

           15.   Attached as Exhibit BH-14 is a true and correct copy of a letter that I

understand was sent from Commission Senior Trial Counsel Jennifer Farer to BHL, dated May

30, 2023.

           16.   Attached as Exhibit BH-15 is a true and correct copy of a letter that I understand

was sent from Stephanie Brooker, Kendall Day, and Richard Grime of Gibson Dunn and William

Baker, Benjamin Naftalis, and Douglas Yatter of Latham & Watkins LLP to the Commission, dated

June 4, 2023.

           17.   Attached as Exhibit BH-16 is a true and correct copy of a letter that I understand

was sent from the Commission to William McLucas of WilmerHale LLP

(“WilmerHale”), dated May 30, 2023.

           18.   Attached as Exhibit BH-17 is a true and correct copy of a letter that I understand

was sent from William McLucas of WilmerHale on behalf of BAM to the Commission, dated June

1, 2023.




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           19.   Attached as Exhibit BH-18 is a true and correct copy of a letter that I understand

was sent from William McLucas of WilmerHale on behalf of BAM to the Commission, dated June

2, 2023.

           20.   Attached as Exhibit BH-19 is a true and correct copy of an email chain that I

understand is between David Ware and Richard Grime from Gibson Dunn on one hand, and the

Commission on the other hand. The most recent email in the chain is dated June 5, 2023.

           21.   Attached as Exhibit BH-20 is a true and correct copy of a proposed stipulation

that I understand was sent from Stephanie Brooker of Gibson Dunn on behalf of all defendants

dated, June 11, 2023.

           22.   Attached at Exhibit BH-21 is a true and correct copy of the April 21, 2023

Motley Fool article titled, “What is Staking in Crypto,” found at:

https://www.fool.com/investing/stock-market/market-sectors/financials/cryptocurrency-

stocks/what-is-staking/, as it appeared on June 10, 2023.

           23.   Attached as Exhibit BH-22 is a true and correct copy of the November 30, 2017

Tech In Asia article titled, “Three months after launch, this unbanked crypto exchange made

$7.5m in profit,” found at:

https://www.techinasia.com/cryptocurrency-exchange-binance, as it appeared on June 11,

2023.

           24.   Attached at Exhibit BH-23 is a true and correct copy of Binance.com’s message

to U.S. users, dated November 9, 2020, that was bates stamped BHL-SEC-BUSD-0308230 and

produced to the Commission.




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        25.     Attached at Exhibit BH-24 is a true and correct copy of a Binance.com August

20, 2021 announcement titled, “Important Changes About Binance Identity Verification” , found

at:

https://www.binance.com/en/support/announcement/important-changes-about-binance-

identity-verification-51bf294e26324211a4731ca998e110ca, as it appeared on June 10,

2023.

        26.     Attached at Exhibit BH-25 is a true and correct copy of the Commission’s

website article titled, “Framework for ‘Investment Contract’ Analysis of Digital Assets,” found

at:

https://www.sec.gov/corpfin/framework-investment-contract-analysis-digital-assets, as it

appeared on June 10, 2023.

        27.     Attached as Exhibit BH-26 is a true and correct copy of the December 21, 2021

Binance Blog post titled, “Introducing BNB Auto-Burn: a new Protocol for the Quarterly BNB

Burn,” found at:

https://www.binance.com/en/blog/ecosystem/introducing-bnb-autoburn-a-new-protocol-for-

the-quarterly-bnb-burn-421499824684903205, as it appeared on June 11, 2023.

        28.     Attached at Exhibit BH-27 is a true and correct copy of the webpage found at:

https://coinmarketcap.com/currencies/bnb/, as it appeared on June 10, 2023.

        29.     Attached at Exhibit BH-28 is a true and correct copy of the Travala

advertisement titled, “Book Hotels with Binance Coin (BNB),” found at:

https://www.travala.com/payment/binance-coin-bnb, as it appeared on June 10, 2023.




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            30.    Attached at Exhibit BH-29 is a true and correct copy of the CanWork

advertisement titled, “Access Global Freelance Talent with Smart-Contract Confidence,” found

at:

https://canwork.io, as it appeared on June 10, 2023.

         31.      Attached at Exhibit BH-30 is a true and correct copy of the Aeron advertisement

titled, “Pilot Shop,” found at:

https://aerotrips.com/shop, as it appeared on June 10, 2023.

         32.      Attached at Exhibit BH-31 is a true and correct copy of the webpage found at:

https://machix.com/, as it appeared on June 10, 2023.

         33.      Attached as Exhibit BH-32 is a true and correct copy of the October 22, 2021

BNB Chain blog post titled, “Introducing BEP-95 With a Real-Time Burning Mechanism,”

found at:

https://www.bnbchain.org/en/blog/introducing-bep-95-with-a-real-time-burning-

mechanism/, as it appeared on June 11, 2023.

         34.      Attached at Exhibit BH-33 is a true and correct copy of the webpage found at:

https://github.com/bnb-chain/BEPs/pull/176, as it appeared on June 10, 2023.

         35.      Attached at Exhibit BH-34 is a true and correct copy of the webpage found at:

https://paxos.com/busd/, as it appeared on June 10, 2023.

         36.      Attached at Exhibit BH-35 is a true and correct copy of the November 15, 2022

Binance Blog post titled, “Understanding BUSD and Binance-Peg BUSD,” found at:

https://www.binance.com/en/blog/ecosystem/understanding-busd-and-binancepeg-busd-

5526464425033159282, as it appeared on June 10, 2023.




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         37.     Attached at Exhibit BH-36 is a true and correct copy of the PWG, FDIC and

OCC report titled, “Report on STABLECOINS,” dated November 1, 2021.

         38.     Attached at Exhibit BH-37 is a true and correct copy of the August 19, 2022

Binance Blog post titled, “Are Stablecoins the Safe Haven of Crypto? Protect Your Wealth With

BUSD and BGBP Stablecoins,” found at:

https://www.binance.com/en/blog/all/are-stablecoins-the-safe-haven-of-crypto-protect-your-

wealth-with-busd-and-bgbp-stablecoins-421499824684900886, as it appeared on June 10,

2023.

         39.     Attached at Exhibit BH-38 is a true and correct copy of the Paxos article titled,

“Outside of the Paxos platform, where can I use my Paxos stablecoins?,” found at:

https://paxos.com/2020/06/02/outside-of-the-paxos-platform-where-can-i-use-my-paxos-

stablecoins/, as it appeared on June 10, 2023.

         40.     Attached at Exhibit BH-39 is a true and correct copy of the September 23, 2021

CoinTelegraph article titled, “BUSD: A case study for stablecoin compliance and security,”

found at:

https://cointelegraph.com/news/busd-a-case-study-for-stablecoin-compliance-and-security,

as it appeared on June 10, 2023.

         41.     Attached at Exhibit BH-40 is a true and correct copy of the February 13, 2023

CoinDesk article titled, “What’s the Point of Stablecoins? The Reasons, Risks and Types to

Know,” found at:

https://www.coindesk.com/learn/whats-the-point-of-stablecoins-understanding-why-they-

exist/, as it appeared on June 10, 2023.




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        42.        Attached at Exhibit BH-41 is a true and correct copy of the Software License

Services Agreement between BAM Trading Services Inc. and Binance Holdings Limited, dated

January 7, 2020.

        43.        Attached at Exhibit BH-42 is a true and correct copy of the Master Services

Agreement between BAM Trading Services Inc. and Binance Holdings Limited, dated January 7,

2020.

             44.    Attached as Exhibit BH-43 is a true and correct copy of a letter that I

understand was sent by Brian Shroder on behalf of BAM to the Commission dated December 30,

2022.

        45.        Attached at Exhibit BH-44 is a true and correct copy of the Commission’s

website post of Commissioner Hester Peirce’s January 20, 2023 remarks before the Digital

Assets at Duke Conference, found at:

https://www.sec.gov/news/speech/peirce-remarks-duke-conference-012023, as it appeared

on June 10, 2023.

        46.        Attached at Exhibit BH-45 is a true and correct copy of the July 21, 2021

CoinDesk article titled, “SEC Chair Hints Some Stablecoins Are Securities,” found at:

https://www.coindesk.com/markets/2021/07/21/sec-chair-hints-some-stablecoins-are-securities/,

as it appeared on June 10, 2023.

        47.        Attached at Exhibit BH-46 is a true and correct copy of the October 14, 2022

Reuters article titled, “SEC’s Gensler says CFTC authority over stablecoins should be bolstered,”

found at:

https://www.reuters.com/technology/secs-gensler-says-cftc-authority-over-stablecoins-

should-be-bolstered-2022-10-14/, as it appeared on June 10, 2023.



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         48.      Attached at Exhibit BH-47 is a true and correct copy of the March 31, 2022

Commission “Response to Staff Accounting Bulletin,” found at:

https://www.sec.gov/news/statement/peirce-response-sab-121-033122, as it appeared on June 10,

2023.

         49.      Attached at Exhibit BH-48 is a true and correct copy of the October 7, 2021

Fintech Times article titled, “Binance: Helping to Build Financial Freedom in Africa with

Cryptocurrency and Blockchain” found at:

https://thefintechtimes.com/binance-helping-to-build-financial-freedom-in-africa-with-

cryptocurrency-and-blockchain/, as it appeared on June 10, 2023.

         50.      Attached at Exhibit BH-49 is a true and correct copy of the September 4, 2021

Financial Times article titled, “Cryptocurrencies: developing countries provide fertile ground,”

found at:

https://www.ft.com/content/1ea829ed-5dde-4f6e-be11-99392bdc0788, as it appeared on

June 10, 2023.

         51.      Attached at Exhibit BH-50 is a true and correct copy of the January 13, 2023

Financial Express article titled, “What can cryptocurrencies ensure for economic development of

third-world countries,” found at:

https://www.financialexpress.com/business/blockchain-what-can-cryptocurrencies-ensure-

for-economic-development-of-third-world-countries-2946355/, as it appeared on June 10,

2023.

        52.      Attached at Exhibit BH-51 is a true and correct copy of the February 5, 2021

Reason article titled, “Bitcoin Is Protecting Human Rights Around the World,” found at:




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https://reason.com/video/2021/02/05/bitcoin-is-protecting-human-rights-around-the-world/, as it

appeared on June 10, 2023.

        53.     Attached at Exhibit BH-52 is a true and correct copy of the July 26, 2022

National article titled, “Why cryptocurrencies are a lifeline for people in developing countries,”

found at:

https://www.thenationalnews.com/business/money/2022/07/27/why-cryptocurrencies-are-a-

lifeline-for-people-in-developing-countries/, as it appeared on June 10, 2023.

        54.     Attached at Exhibit BH-53 is a true and correct copy of the November 30, 2021

International Banker article titled, “Why Emerging Markets are Early Adopters of Crypto as

Legal Tender,” found at:

https://internationalbanker.com/brokerage/why-emerging-markets-are-early-adopters-of-

crypto-as-legal-tender/, as it appeared on June 10, 2023.

        55.     Attached at Exhibit BH-54 is a true and correct copy of the December 19, 2012

Gallup article titled, “Income Biggest Barrier to Banking in Developing Countries,” found at:

https://news.gallup.com/poll/159380/income-biggest-barrier-banking-developing-countries.aspx,

as it appeared on June 10, 2023.

        56.     Attached at Exhibit BH-55 is a true and correct copy of the December 15, 2019

CoinDesk article titled, “Even if a Thousand Projects Don’t Make It, Blockchain Is Still a

Change Catalyst,” found at:

https://www.coindesk.com/tech/2019/12/15/even-if-a-thousand-projects-dont-make-it-

blockchain-is-still-a-change-catalyst/, as it appeared on June 10, 2023.

        57.     Attached at Exhibit BH-56 is a true and correct copy of the February 23, 2019

New York Times article titled, “Bitcoin Has Saved My Family,” found at:


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https://www.nytimes.com/2019/02/23/opinion/sunday/venezuela-bitcoin-inflation-

cryptocurrencies.html, as it appeared on June 10, 2023.

        58.     Attached at Exhibit BH-57 is a true and correct copy of the June 8, 2023, New

Vox article titled, “Now Might Be A Good Time To Consider Quitting Crypto,” found at:

https://www.vox.com/23752826/binance-coinbase-sec-crypto-investors, as it appeared on June

10, 2023.

        59.     Attached at Exhibit BH-58 is a true and correct copy of the April 2020 BNB

Smart Chain Whitepaper, found at:

https://github.com/bnb-chain/whitepaper/blob/master/WHITEPAPER.md#consensus-and-

validator-quorum, as it appeared on June 10, 2023.

        60.     Attached at Exhibit BH-59 is a true and correct copy of the webpage found at:

https://www.bnbchain.org/en/staking, as it appeared on June 10, 2023.

        61.     Attached at Exhibit BH-60 is a true and correct copy of the webpage found at:

https://coinmarketcap.com/rankings/exchanges/, as it appeared on June 10, 2023.

        62.     Attached at Exhibit BH-61 is a true and correct copy of the webpage found at:

https://docs.bnbchain.org/docs/validator/create-val, as it appeared on June 10, 2023.

       63.     Attached at Exhibit BH-62 is a true and correct copy of the webpage found at:

https://dappradar.com/rankings/protocol/binance-smart-chain, as it appeared on June 10, 2023.

        64.     Attached at Exhibit BH-63 is a true and correct copy of the webpage found at:

https://www.binance.com/en, as it appeared on June 10, 2023.

        65.     Attached at Exhibit BH-64 is a true and correct copy of the webpage titled,

“Welcome to Binance,” found at:

https://www.binance.com/en/about, as it appeared on June 10, 2023.



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        66.     Attached at Exhibit BH-65 is a true and correct copy of the webpage found at:

https://www.binance.com/en/mission, as it appeared on June 10, 2023.

        67.     Attached at Exhibit BH-66 is a true and correct copy of the 2021 AICPA

Auditing Standards AU-C Section 200.

        68.     Attached at Exhibit BH-67 is a true and correct copy of the spreadsheet titled 2

H360 - BAM Trading Services Inc.xlsx.

        69.     Attached at Exhibit BH-68 is a true and correct copy of the spreadsheet titled 1

H360 - BAM Management US Holdings Inc.xlsx.

        70.     Attached at Exhibit BH-69 is a true correct copy of the webpage found at:

https://www.primetrust.com/about, as it appeared on June 11, 2023.

        71.     Attached at Exhibit BH-70 is a true correct copy of the webpage found at:

https://www.wintermute.com/about/, as it appeared on June 11, 2023.

        72.     Attached at Exhibit BH-71 is a true correct copy of the webpage found at:

https://subspace.network/, as it appeared on June 11, 2023.

        73.     Attached at Exhibit BH-72 is a true correct copy of the webpage found at:

https://www.coinbase.com/about, as it appeared on June 11, 2023.

        74.     Attached at Exhibit BH-73 is a true correct copy of the webpage found at:

https://www.kbit.com/, as it appeared on June 11, 2023.

        75.     Attached at Exhibit BH-74 is a true correct copy of the webpage found at:

https://www.auros.global/about/, as it appeared on June 11, 2023.

        76.     Attached at Exhibit BH-75 is a true correct copy of the March 27, 2020 Forbes

article titled, “Coinbase Buys Crypto Trading Firm Tagomi To Boost Institutional Trading

Business,” found at:




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https://www.forbes.com/sites/jeffkauflin/2020/05/27/coinbase-buys-crypto-trading-firm-

tagomi-to-boost-institutional-trading-business/?sh=e7ff296270f5, as it appeared on June 11,

2023.

        77.     Attached at Exhibit BH-76 is a true correct copy of the Bloomberg web profile

titled, “Alameda Research,” found at:

https://www.bloomberg.com/profile/company/1872413D:HK#xj4y7vzkg, as it appeared on June

11, 2023.

        78.     Attached at Exhibit BH-77 is a true correct copy of the AU Section 350.05 on

“Audit Sampling”, as it appeared on June 11, 2023. This is relied upon in the Declaration of J.

Gregory Eastman.

        79.     Attached at Exhibit BH-78 is a true correct copy of the webpage found at:

https://gdpr.eu/what-is-gdpr/, as it appeared on June 11, 2023.

        80.     Attached at Exhibit BH-79 is a true and correct copy of the entry for “Net

Income” in the Financial Accounting Standards Board, “Master Glossary,” found at:

https://asc.fasb.org/MasterGlossary, as it appeared on June 11, 2023.

        81.     Attached at Exhibit BH-80 is a true and correct copy of the June 5, 2023 The

Wall Street Journal article titled, “SEC Says Binance Misused Customer Funds, Ran Illegal

Crypto Exchange in U.S.,” found at:

https://www.wsj.com/articles/sec-sues-crypto-exchange-binance-over-u-s-rule-violations-

6918ed0f, as it appeared on June 11, 2023.

        82.     Attached at Exhibit BH-81 is a true and correct copy of the June 8, 2023

Economist article titled, “Regulators put the future of America’s crypto industry in doubt,” found

at:


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https://www.economist.com/finance-and-economics/2023/06/08/regulators-put-the-future-

of-americas-crypto-industry-in-doubt, as it appeared on June 11, 2023.

         83.     Attached at Exhibit BH-82 is a true and correct copy of the March 2016 article

from the Review of Financial Studies titled, “Policy Uncertainty and Corporate Investment,”

found at:

https://academic.oup.com/rfs/article-pdf/29/3/523/24450983/hhv050.pdf, as it appeared on

June 11, 2023.

         84.     Attached at Exhibit BH-83 is a true and correct copy of the August 2013 article

from the Journal of Law, Economics, & Organization titled, “The Effect of Regulatory

Uncertainty on Investment: Evidence from Renewable Energy Generation.”

         85.     Attached at Exhibit BH-84 is a true and correct copy of the August 2016 article

from the Journal of Monetary Economics titled, “Lending on Hold: Regulatory Uncertainty and

Bank Lending Standards.”

         86.     Attached at Exhibit BH-85 is a true and correct copy of the January 2020 article

from the Journal of Monetary Economics titled, “The economic effects of trade policy

uncertainty.”

         87.     Attached at Exhibit BH-86 is a true and correct copy of the January 2020 article

from the American Economic Journal: Economic Policy titled, “Trade and investment under

policy uncertainty: theory and firm evidence.”

         88.     Attached at Exhibit BH-87 is a true and correct copy of the November 2019

article from the Journal of Economic Asymmetries titled, “Economic policy uncertainty: A

literature review.”




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         89.     Attached as Exhibit BH-88 is a true and correct copy of the CoinMarketCap

article titled, “Stablecoins And BUSD: What Are They And How do they work?,” found at:

https://coinmarketcap.com/community/articles/33431/, as it appeared on June 11, 2023.

         90.     Attached as Exhibit BH-89 is a true and correct copy of the webpage found at:

https://www.binance.com/en/bnb, as it appeared on June 11, 2023.

         91.     Attached as Exhibit BH-90 is a true and correct copy of the October 21, 2022

Binance Blog post titled, “Binance and BNB Chain: What’s the Difference?,” found at:

https://www.binance.com/en/blog/ecosystem/binance-and-bnb-chain-whats-the-difference-

6186229776062522437, as it appeared on June 11, 2023.

         92.     Attached as Exhibit BH-91 is a true and correct copy of the December 16, 2022

Federal Reserve article titled, “The stable in stablecoins,” found at:

https://www.federalreserve.gov/econres/notes/feds-notes/the-stable-in-stablecoins-

20221216.html, as it appeared on June 11, 2023.

         93.     Attached as Exhibit BH-92 is a true and correct copy of the November 16, 2021

Binance Blog post titled, “BUSD: All You Need To Know About the Stablecoin,” found at:

https://www.binance.com/en/blog/futures/busd-all-you-need-to-know-about-the-stablecoin-

421499824684903051, as it appeared on June 11, 2023.

         94.     Attached as Exhibit BH-93 is a true and correct copy of the CoinMarketCap

webpage, found at:

https://coinmarketcap.com/currencies/binance-usd/, as it appeared on June 11, 2023.

         95.     Attached as Exhibit BH-94 is a true and correct copy of the Cryptocompare

article titled, “February 2023 Exchange Review,” found at:




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https://www.cryptocompare.com/media/44051283/feb_exchange-review-vf.pdf, as it appeared

on June 11, 2023.

        96.      Attached as Exhibit BH-95 is a true and correct copy of the CoinGecko article

titled, “Potential Impact of CFTC’s Lawsuit on Binance.US Users,” found at:

https://www.coingecko.com/research/publications/binance-us-monthly-users, as it appeared on

June 11, 2023.

        97.      Attached as Exhibit BH-96 is a true and correct copy of the Robinhood article

titled, “Cardano (ADA), Polygon (MATIC), Solana (SOL) Update,” found at:

https://robinhood.com/us/en/support/articles/cardano-polygon-solana-update/, as it appeared on

June 12, 2023.

        98.      Attached as Exhibit BH-97 is a true and correct copy of the Yahoo Finance

article titled, “Robinhood moves to cut support for Cardano, Polygon, and Solana,” found at:

https://finance.yahoo.com/news/robinhood-moves-cut-support-cardano-142427041.html/, as it

appeared on June 12, 2023.

        99.      Attached as Exhibit BH-98 is a true and correct copy of the Blockworks article

titled, “Crypto.com to suspend US institutional exchange,” found at:

https://blockworks.co/news/crypto-com-suspending-us-institutional-exchange, as it appeared on

June 12, 2023.

        100.     Attached as Exhibit BH-99 is a true and correct copy of the webpage found at:

https://www.binance.com/en/legal/licenses, as it appeared on June 12, 2023.

        101.     Attached as Exhibit BH-100 is a true and correct copy of the September 23,

2022 Wall Street Journal article titled, “Binance Hires Compliance Chief From Crypto Rival

Kraken,” found at:



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https://www.wsj.com/articles/binance-hires-compliance-chief-from-crypto-rival-kraken-

11663925403, as it appeared on June 12, 2023.

        102.    Attached as Exhibit BH-101 is a true and correct copy of the Block article

titled, “Binance’s new compliance chief sees mission to put crypto exchange giant ‘beyond

reproach, found at:

https://www.wsj.com/articles/binance-hires-compliance-chief-from-crypto-rival-kraken-

11663925403, as it appeared on June 12, 2023.

        103.    Attached as Exhibit BH-102 is a true and correct copy of the CoinMarketCap

webpage found at:

https://coinmarketcap.com/exchanges/binance-us/, as it appeared on June 12, 2023.

                                            * * *

       I declare under penalty of perjury that the foregoing is true and correct. Executed on

this 12th day of June 2023 in New York, New York.



                                                      /s/ Mary Beth Maloney
                                                     Mary Beth Maloney

                                                     Counsel for Defendant Binance Holdings
                                                     Limited




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